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1|| James G O’Neill (Bar No 49686) Sone

LAW OFFICES OF JAMES G O’NEILL

 

 

 

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3] Telephone: (714) 549-8609 '
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Steven L. Krongold, Esa, Bat No. 125952) OT | 3 lesg

5] THE KRONGOLD cs FIRM ESCO S BST Cover
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é || Costa Mesa, California 92626 PTR ANTA AAG OA
Telephone: (714) 546-1800 BY DEPUTY

 

 

7\| Facsimile: (714) 546-1803

8 || Attorneys for Plaintiff Leslie A. Kelly,
an individual and dba Les Kelly Publications,
9|| Les Kelly Enterpn ind Show Me The Gold

      

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aN TED STATES DISTRICT COURT
12
WTRAL DISTRICT OF CALIFORNIA
13
14 ven
Lesh ee Ya fidividual NO. SACV 99-560 GLT (ANx)
15 ab debt “ites as Les Kelly
Pubhicafrons, Les Kelly Enterprises, and PLAINTIFF’S APPLICATION TO
16|| Show Me The Gold, FILE EXHIBITS UNDER SEAL;
ORDER THEREON
17 Plaintiff,
Hearing date. None
18]| vs Time: None
Ctrm: 10D
19

ARRIBA SOFT CORPORATION, an
20} Wlinois Corporation; and DOES 1 through
100, inclusive,

 

Zl
Defendants.

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23
Pursuant to Local Rule 295.1, Plaintiff Leslie A Kelly respectfully requests

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permission from the Court to file, under seal, three documents to be used in support of

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Plaintiff's motion for partial summary judgment on the copyright infringment claim in the

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above-entitled action. The parties intend to file cross-motions for partial summary

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judgment on or before October 18, 1999. a)
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ENTERED ON ICMS

 

 
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The three documents are enclosed herewith in sealed envelopes as required by Rule
29.5.1 and consist of the following:

1 Arriba Soft Corporation Business Plan, dated December 21, 1998;

2 Arriba Soft Corporation 1998-99 Revenue Detail; and

3 Search Services Agreement between Arriba Soft Corporation and Snap! LLC,
dated May 8, 1999

The above-referenced documents were produced by defendant Arriba Soft (now
known as “Ditto com”) pursuant to a Stipulated Protective Order Asriba Soft has no
objections to filing said documents under seal for purposes of ruling on the partial

summary judgment motions.

Dated October /f, 1999 THE TK V/

Steven ongold
Attomey for Plaintiff
Leslie A Kelly
ORDER,
Based on the above application, and good cause appearing, IT IS HEREBY
ORDERED that the above-referenced documents, copies of which are submitted herewith,

shall be filed under seal pursuant to Local Rule 29 5.

DATED: )8-/2 AG

  

 
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STATE OF CALIFORNIA PROOF OF SERVICE
STATE OF CALIFORNIA, COUNTY OF ORANGE

I am employed in the County of Orange, State of California. My business
address is 3151 Airway Avenue, Ste. A-3, Costa Mesa, California 92626-4620. I am over
the age of 18 years and not a party to this action

On October 12, 1999, I served the foregoing documents described as:
PLAINTIFF’S APPLICATION TO FILE EXHIBITS UNDER SEAL; ORDER
THEREON on the interested parties in this action by placing a true copy thereof, en-
closed in a sealed envelope, addressed as follows:

Kelly W. Smith, Esq.

Perkins Coie LLP

135 Commonwealth Drive, Suite 250
Menlo Park, California 94025-1105

XX BY MAIL

I deposited such envelope in the mail at Costa Mesa, California The envelope
was mailed with postage thereon fully prepaid

I declare under penalty of perjury under the laws oftfie Unjted Stages #f Amegica
that the foregoing 1s true and correct. Executed on Oc&Ober FZ Wy ny
iforma ge

Steven L. Krongold ‘

 

 

 
